                                                                                                                                                                                                                        Case Filed                                                                     I
                         CRIMINAL DOCKET· U ,S, District Cou rt                                                   U.S.                                (LAST. FI RST, MIDDLE)                                                                          Y,-     I        Docket No.                           Del.
FORM AO-256                                                                                   l------l WRIT                                                                                                                Mo.        Day


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                                                                       Assigned

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REV. 1-82                                                                                                                                                                                                                         I
                                    XI
                         PO
                                             92X 4                     IX~7         __        ~                                 CURTIS, EARLE A.
                         Misd.       0
                                                                       Disp./Sentence
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                                                                                                       JUVENILE

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                                                                                                                                                                                                                                       Del's· CUA~EMNAOG. ~
                         Felony      0       Distric t       Off       Judge/Magistr.        OFFENSE ON INDEX     CARD~


                                  18:
                                       U.S. TITLE/SECTION

                                        13 &         NEGLIGENT DRIVING
                                                                                                                                            OFFENSES CHARGED                                            ORIGINAL COUNTS,
                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                            DISM.
                                                                                                                                                                                                                                                                               NG
                                                                                                                                                                                                                                                                                               GUILTY
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                                                                                                                                                                                                                                                                           L.J L-I
                                  A. S. 28.35.045(a}                                                                                                                                                                                                                       L.J LL..J
                                  18: 13 &           LITTERING                                                                                                                                                                               II                            L.JL-J
                CI)
                w                 A. S. 28.35.230, 13AAC 02.530(a}                                                                                                                                                                                                         L.J LL..J
                t:l
                a:                                                                                                                                                                                                                                                         L.J LL..J
                J:
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                tJ                                                                                                                                                                                                                                                         LJ L----J

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                                                                                                                                                                                                        SUPERSEDING COUNTS -------3                                        0       JURY        0           N.J.
                                         -INTERVAL O N E ~ END ONE AND/OR BEGIN TWO lOR RESTART PERIOD TO TRIAL)                                                                                                               - - - E N D INTERVAL TWO

                  ~
                  ;3 ~KEY                 DATE]
                                                              L..J arrest
                                                              L..J sum'ns
                                                                              I~        I
                                                                                            ~KEY DATE           JI        L..J:~~~/~~~~:led
                                                                                                                          L..J consent to Magr
                                                                                                                                                       , - KEY DATE]! LJ
                                                                                                                                                       !~
                                                                                                                                                                                           I~S~ ~~~~;~s/~~end
                                                                                                                                                                                       LJ Rece,vel,le R20/21            ~KEY                DATE
                                                                                                                                                                                                                                                                  L..J     ~1~;lSsal
                                                                                                                                                                                                                                                                  L-J9UlltY{LJ After N G
                                                                                                                                                                                                                 -I
                                                                                                                                                                                                                                                      l
                                                                                                                              trial on complaint
                  ~                                           ~ custody~                                                  l-J Information              I - - -         - -    - -      ~ Sup~d;~.-.J l~d-L~lnf                                                    L.jNolo               LJ After nolo
                  :..:
                  ~                                                                                                         ~                                                                                                                                     ~Trlal (voHdlre)began

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                                  EARLIESTOF                  I-----.Jappears-on              -APPLICABLE                        Felony \"J \NalVer         LATESTOF                   I---.JOrderNewtnal         II    I      APPLICABLE
                  -                                                  complaint

                              1st appears with or ! ARRAIGNMENT                               ht Trial Ended                        2nd Trial Began         IIDISPOSITION DATE               SENTENCE DATE                  PTD        IFINAL CHARGES DISMISSED   on del
                                   .          I'
                                  waives counse          I ·                                                          RE
                                                                                                                   TRIAL
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                                                                                                                                                                                                                       LJ Pros.
                                                                                                                                                                                                                                        Don           S.T.
                                                                                                                                                                                                                                                 grounds
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                                                                                                                                                                                                                                                              0 W.P. OWOP LJmotion
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                                                     III. MAG 1ST RAT E
                                                                       DATE                   INITIAL/NO.                                                                                      INITIAL/NO.             OUTCOME'
                             Search              Issued
                                                                                                                      INITIAL APPEARANCE DATE ~                                                                                                 l-J DISMISSED
                             Warrant            -
                                                 Return                                                                                                                                                                               HELD FOR GJ OR OTHER PRO·
                                                                                                                      PRELIMINARY               Date                                                                    L-.J CEEDING IN THIS DISTRICT
                                                                                                                      EXAMINATION               Scheduled ~

                                                 Issued                                                                         OR                  ----------,
                             Summons           -                                                                        REMOVAL                 Date Held ~                                                                           HELD FOR GJ OR OTHER PRO·
                                                Served
                                                                                                                      o    HEARING        ~-------r=::c-.===---..l------------1L-.J                                                   CEEDING IN DISTRICT BELOW
                             Arrest Warrant Issued                                                                    o    WAIVED          0   NOT WAIVED            I Tape   Number
                                  COMPLAINT              ~                                                            o    INTERVENING INDICTMENT
                             Date of Arrest                  OFFENSE (In Complaint)




                     ':C================================!)
                     C::                           D D D:D D
                               0w last names and sulfix numbers 01 other delendants on same indictmentlinlormation:                                                                                                                    RULE

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                                   AT TOR N E Y S - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , , - BAIL                                                                                                                             •       RELEASE--
                                   U. S. Attorney or Asst.
                                                                                                                                                                                                                                                            PRE· INDICTMENT

                                   Stephen Cooper                                                                                                                                                                                            Release Date
                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                       Bail
                             Defense:    1    1M CJA.              2     0   Ret.           3 0       Waived.     40 Self                5 0      Non / Other.           6 0        PD.        7 0    CD
                                                                                                                                                                                                                                             U         Denied                       U         Fugitive

                                                                                                                                                                                                                                                                                    U         Pers. Rec.
              c..i                 Daniel Callahan


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              I-                                                                                                                                                                                                                                                                    l-J       PSA
              w
              CI)-                 SCHENDEL & CALLAHAN                                                                                                                                                                                       $                                 I    Conditions
              w
              i=                   P. O. Box 2137                                                                                                                                                                                                 Date Set                          U     10% Dep.
              w
              a:
              :::>
                                   Fairbanks, Alaska 99707                                                                                                                                                                                   I                                 I U        Surety Bnd
              CI)

              u;                                                                                                                                                                                                                             o    Bail Not Made                     LJ    Collateral
              >-
              w                                                                                                                                                                                                                                                                     U     3rdPrty
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              l-                                                                                                                                                                                                                                            POST·-INDICTMENT
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              CI)
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              CI)
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                                                                                            .f;5:(H). ()-<J                -a,                                                                                                                   Date Set
                                                                                                                                                                                                                                                                               I    U     Surety Bnd

              :>I---H'----+l---------H----------....                                                                                                                                                                                         o Bail       Not Made                  U     Collateral
                              v          F~E       AND RESTITUTI6'N PAYMENTS                                      1                                   LJ         Docket Entries Begin On Reverse Side                                        pate Bond Made                    I    U     3rf1 Prty
                                         DATE                 I        RECEIPT NUMBER             I         C,D. NUMBER             I          DATE              I   RECEIPT NUMBER            I        C.D. NUMBER                          L                                 I U        Other




                     f - - - - I         -I                                                       L-~                                                            I                  =j~~-----'L----II
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      DATE
                         y"    I       DocMtNo..
                                                        I   Oel.
                                                                    LJI MAn:::R DOCKET. MULTIPLE DEFENDANT CASE        I   1   I   I   1-
                                                                                                                                        r   VI EXCLUDABLE DELAY
                                                                                                                                                                        LETTER CODE;:;

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                                                                    I -v-                                         PAGE"--=:--J OFL-::--J                                periods of exclvd·

  DOCUMENT NO'J         83         00016                    1       ~ PRUCEEDINGS DOCKJ::T FOR SINGLE DEFENDANT
                                                                                                                                            Start01HlJ
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                                                                                                                                                                        .able d'JltiY per 18
                                                                                                                                                                        USC 3161 (!lJ (sections
                                                                                                                                                                        in brackeuJ

                         IOPTIONAL) Show last namo. of defendants                  V.   P~C~=EDIi\lGS                                                                   A Exarn         Of   hearin:
                                                                                                                                                                         for rnenta1Jphysi·
1983                                                                                                                                                                     cal inCllpacity


APR 27              1     Fld information                                                                                                                                   ",usc.-
                                                                                                                                                                            t"J . IA-



HAY          02              Issued summons

MAY          02     2     Fld referral to Mag.                                      cc:      Mag.                                                                       t3 NARA ellam 08
                                                                                                                                                                            USC 2902) [fl} (8))
                                                                                                                                                                        C State/Fed.! pro·

             02     3     Fld MIN/ORDER - setting arraign for 5/13/83 at 11:00 .m.                                                                                       ceedings on other
                                                                                                                                                                         charges [(ll (DII

                            cc: AUSA, Mag., Prob., deft                                                                                                                 o    Interlocutoryap-
                                                                                                                                                                         pea"1 {(THEIl
                                                                                                                                                                        E Pretrial motion




                                                                                                                                                                         .....
                                                                                                                                                                            (from filing to

MAY          03     4        Fld executed summons, serv on deft 5/3/83                                                                                                   hearing or to other
                                                                                                                                                                         prompt disposition'
                                                                                                                                                                            IIlllFJI
                                                                                                                                                                        F Transfer from other
MAY          13     :        Fld Order specifying methods & conds of reI                                                                                                 district per FACrP
                                                                                                                                                                         20.21 or 40 Of MIll•



             13 5c            Fld deft's appearance bond in the amount of $500 casil

MAY          16 6             Fld MIN/CT - bail set at 500.00;pretrial mos due 5/1 D/83
                                at 10:00 a.m.;based upon the deft's failure to cal                                                                                      G Proceedings under
                                the Probe office it is ordered that the $100.00                                                                                          advisement, not to
                                                                                                                                                                         exceed 30 dllys,
                                                                                                                                                                         after all neces·
                                shall be forfeited                                                                                                                       sary subminions
                                                                                                                                                                         filed and hearin~
                                                                                                                                                                         comploted [(1 HJII
                                                                                                                                                                        H Misc. proceedings:
             16 7             Fld CJA 20 - appting cnsl Dan Callahan                                                                                                     arra·lgnment, parolel
                                                                                                                                                                         probation. revocation.
                                                                                                                                                                         Deportation,extra
                                                                                                                                                                         clition {(1)]
             16 8             Fld Order regarding preparation for 'trial                                                                                                6Deferral of prose.
                                                                                                                                                                         cution (per 28 usC
                                                                                                                                                                         29021 [{lI{CII
                                                                                                                                                                        6Transportation from
 MAY         24 9             Fld MIN/ORDER - trial by ct set for 7/5/83 at 9:00a.~.                                                                                     another district or
                                                                                                                                                                         to/from examinatiOlt
                                cc: cnsl, Marshal, Probe                                                                                                                 (lr hospitalization
                                                                                                                                                                         In 10 days or less
                                                                                                                                                                         (I1llHII
                                                                                                                                                                        7Consideration by
Jun          08 l(        Fld Motion for entry of default judgment                                                                                                       Court of proPosed
                                                                                                                                                                          pleaagretlment [(1)(1))
                                                                                                                                                                        I Prosecution deferred
                                                                                                                                                                         by mutual agreement
Jun          09 1            Fld Judgment of default                                                                                                                     li211
                                                                                                                                                                        M Unavalfability of cb
                                                                                                                                                                         fendant or essential
                                                                                                                                                                         witness [!3llA,811
Jun          16 12        Fld deft's demand for notice of alibi defense                                                                                                 N Period of menta1/phV-
                                                                                                                                                                         lliicallncompetenco
                                                                                                                                                                         ofdef. to stand
                                                                                                                                                                         trial [(411
 Jun         20    l~         Fld report of conference                                                                                                                  o Period ofNARA
                                                                                                                                                                         commitment/treat-
                                                                                                                                                                         ment[(SlI




                                                                                                                                                                         ·-'e
                                                                                                                                                                        PSupel"$(lding Indict-
 Jun         20 I.            Fld Motion for order foreshortening time for govt's                                                                                        ment and/or new

                                notice of counter-alibi witnesses and Lodged
                                Order

JUN      24                   Fld MIN/ORDER - trial set for 7/5/83 is vacated &                                                                                         n CeI,owaldng trial
                                                                                                                                                                         of co·defendant &
                                reset for 7/11/83 at 9:00 a.m.  called cnsl                                                                                              no severance has
                                                                                                                                                                         been g,anted WII
                                                                                                                                                                        T Continuances
                                                                                                                                                                         granted per (h) 181
JUN      29        If         Fld MIN/ORDER - trial reset for 7/11/83, pltf can fi e                                                                                     lise '7" alona if mo~
                                                                                                                                                                         than one of the fol..
                                it's notice of counter-alibi witnesses before 10                                                                                          lowing reasons (n
                                                                                                                                                                          tJ1ru T4) is given In
                                days from the date of trial, pltf's mo to foreshor en                                                                                    support ofcond·
                                                                                                                                                                            uanca [(6llA,811
                                time is dismissed as mmot.  cc: cnsl                                                                                                    T1 Failure to contfnul
                                                                                                                                                                         would stop further
                                                                                                                                                                         proceedings or
                                                                                                                                                                         result in miscarriage

JUL      5        ~7     Fld deft's mo for cont                                                                                                                         T2
                                                                                                                                                                            ollustica [(aIl8,iiill
                                                                                                                                                                              Case unusual or com-




                                                                                                                                                                                        •
                                                                                                                                                                            plax[(6116,illl

         5        b.8    Fld deft's affidavit of Daniel L. Callahan

         5               Lodged Order                                                                                                                                   13 Indtetmmt followlllLl
                                                                                                                                                                         arrest can't be filed
                                                                                                                                                                         In 30 days !l6118.Ivll
JUL          7    19      Fld MIN/ORDER - deft's mo for cont is denied for                                                                                              14 Conl1nuance granllCl
                                                                                                                                                                         to obtaTn orsu\»tl..
                            insufficient showing cc: cnsl                                                                                                                !Uta counsel, or 91\'1
                                                                                                                                                                          reesonable tIme to
                                                                                                                                                                         prep,.. !l81(8)vll
                                                                                                                                                                        U nme up to withdrawal
                                                                                                                                                                         euilty plea,316111/
                                                                                                                                                                        W Grand Jury indictment
                                                                                                                                                                         time extended 31J mont
                                                                                                                                                                         days, 3161 {bl
    UNITED STATES DISTRICT COURT
    CRIMINAL DOCKET    ~    u. s. '"   EARLE A. CURTIS                                       ~83           0016                   1

                                                                                                 Yr.        Docket No.          IDef.

    /                                      PROCEEDINGS (continued)
                                                                                              V. EXCLUDABLE DELAY
          DATE




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         1983
        JUL 08      (20)       Fld pltf's oppos to deft Curtis' mo for cont

        JUL    11   (21)       Fld MIN/CT - CR Court trial;findings of fact
                                 placed on record;Judgment, guilty of Ct I
                                 & ct II not proved and ordered dism;mo for
                                 judgment of acquittal denied;impos of sent:
                                 deft to be given credit for $100 bond mone~
                                 previously forfeited & fined $500.00 cc: crsl




•
               11   (22)       Fld JUDGMENT & PROBATION/COW1ITMENT ORDER
                                 cc:  cnsl, Prob., Marshal, deft
        JUL    25   (23)       Fld ORDER exonerating bond            cc:   cnsl & fin-
                                 ancial deputy

        SEPT 23     (24 )     Fld CJA 20 appt atty             Dan Callahan
        1986
        AUG 18      (25)       F1d p1tf's cert cy of affid & request for iss-
                                 uance of Writ of Execution'
              18    (26)       F1d p1tf's cert cy of creditorJs affid
              18               Issued Writ of Execution
        1987
        FEB 17      (27)      Fld Unsatisfied writ of Execution




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    AD 256A                                                                             Interval       Start Date       Ltr. Total
                                                                                 (per Section II)        End Date       Code Days
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET


/    DATE                      PROCEEDINGS (continued)
                                                                      V. EXCLUDABLE DELAY
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AO 256A                                                         Interval     Start Date      Ltr. Total
                                                         (per Section \I)      End Date      Code Days
    UNITED STATES DISTRICT COURT
    CRIMINAL DOCKET ~ U. S. vs


           AD 256A $
                                        CURTIS, EARLE A.                                   ~
                                                                                           '-
                                                                                                Yr.
                                                                                                   '83-0016 CR
                                                                                                          Docket No.     Def.

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                                                                                            V. EXCLUDABLE DELAY
          DATE                                   PROCEEDINGS (continued)
                                                                                            (a)     (b)   (Cl (d)
                       (Document No.)
        1996
        March 1        (2B) FILED US Ex Parte Motion for Remission of Criminal Fine

              1        (--) Lodged order

        March 20       rtf)   FILED Order for Remission of Criminal Fines - granting. cc:
                              usA/uspo




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                                                                                      Interval        Start Date   Ln.   Total
                                                                                (per Section III        End Date   Code Days
UNITED STATES DISTRiCT COURT
CRIMINAL DOCKET
      AO 256A
/                                                                     v.     EXCLUDABLE OELAY




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     DATE                       PROCEEDINGS (continued)
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